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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


DAVID ELLIOT WERKING,

          Plaintiff,                         Case No. 1:19−cv−276

    v.

PAUL MICHAEL WERKING, et al.,

          Defendants.
                                        /

                                 CLERK'S NOTICE
The clerk's office has reviewed the following recent filing and notifies the filer
as follows:
TO: Miles Lynch Greengard
RE: Amended Complaint (ECF No. 8)
REASON FOR NOTICE: Exhibits or attachments are not identified on their
face by number or letter.
RECOMMENDED ACTION: None.
INFORMATION FOR FUTURE REFERENCE: Local Civil Rule 5.7(d)(vii)
requires that all exhibits and attachments contain on their face a prominent
exhibit number or letter. This is particularly helpful to the court should the
document be printed.
For further assistance, please contact the ECF Help Desk at
ecfhelp@miwd.uscourts.gov, or by phone at (800) 290−2742 or (616)
456−2206.


                                        CLERK OF COURT

Dated: May 22, 2019               By:    /s/ E. Siskind
                                        Deputy Clerk
